    Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7528 Page 1 of 14




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF UTAH CENTRAL DIVISION


    OWNER-OPERATOR INDEPENDENT                                   MEMORANDUM DECISION -
    DRIVERS ASSOCIATION, INC., et al.,                         INTERIM REPORT REGARDING
                                                                     C. 1. (b) CLAIMS
                     Plaintiffs,                                       Case No. 2:02 CV 950 TS
            vs.                                                        District Judge Ted Stewart

                                                                     Magistrate Judge David Nuffer
    C. R. ENGLAND, INC.,

                     Defendant.

           This order is an interim report on one of the many categories of claims the magistrate

judge is considering preparatory to a final evaluation of damages in this case. 1 The parties have

agreed, and the magistrate judge has ordered, that these interim reports on claim categories are

not final and that all objections to this and similar interim orders are reserved until entry of the

Final Report and Recommendations of the Magistrate Judge. 2

                                                  Background

           Plaintiffs leased trucks to Defendant under Defendant’s form lease agreements known as

the Independent Contractor Operating Agreements (ICOA). Defendant was found to have

violated the Federal Truth in Leasing Act 3 and accompanying Department of Transportation




1
 Proposed Joint Adjudication Plan for Contested Set-Offs (Adjudication Plan 467) at 9, docket no. 467, filed
January 3, 2011.
2
    Id.
3
    49 U.S.C. §§ 14102 and 14704, et seq.
    Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7529 Page 2 of 14




Regulations 4 with regards to escrow funds Defendant administered under those leases. 5 There

are about 1800 individual driver accounts at issue. 6

            On August 20, 2007, Defendant filed a Proposal Regarding Class-Wide Accounting 7

(Proposed Accounting), and after review and objections, filed a Report on Accounting (Revised

Accounting) on April 18, 2008. 8 The District Judge then outlined a damages assessment

process, and as a first step, entered a Finalization Order 9 requiring Defendant to provide an

Accounting (Final Accounting) of the escrow funds by November 24, 2008. 10 The Final

Accounting was to be the escrow fund balances, less only one Deduction for “[s]pecific repair

and tire purchases.” 11 The District Judge found that while Plaintiffs owed other amounts to

England, only one deduction could be made from the escrow funds in the Final Accounting.

Defendant filed the Final Accounting on November 24, 2008. 12

            The Finalization Order stated the Final Accounting was preparatory to a “truck-by-truck

analysis of actual damages” (Magistrate Judge Accounting) which is the task now underway by

the magistrate judge. 13




4
    49 C.F.R. § 376, et seq.
5
    Findings of Fact and Conclusions of Law at ¶ 47, docket no. 299, filed June 20, 2007.
6
    Transcript February 24, 2011, at 52.
7
 Defendant C.R. England, Inc.’s Proposal Regarding Class-Wide Accounting, docket no. 305, filed August 20,
2007.
8
  Defendant C.R. England’s Report on Accounting, docket no. 326, filed April 14, 2008. Exhibit A [Exhibit
identifiers refer to exhibits from the hearing commenced February 10 and concluded February 24, 2011].
9
 Memorandum Decision and Order on Finalization of the Accounting of Escrow Accounts, Defendant’s Proposed
Set-Offs, Actual Damages, and Restitution (Finalization Order 358), docket no. 358, filed October 24, 2008.
10
     Id. at 11.
11
     Id. at 5, 11.
12
     Defendant C.R. England, Inc.’s Submission of Final Accounting, docket no. 359, filed November 24, 2008.
13
     Finalization Order 358, at 11.



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 Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7530 Page 3 of 14




                                               List of Accountings

            Because there are so many “accountings” this table summarizes them and their purposes:

              Date       Short Title             Purpose                                    Docket   Exhibit
                                                                                            No.      No.
              8/20/07    Proposed Accounting     England’s proposal for accounting with     305      --
                                                 multiple pages per driver
              4/14/08    Revised Accounting      A revision of the proposal with detailed   326      A
                                                 data in a spreadsheet format.
              11/24/08   Final Accounting        A summary of the Escrow Balances less      359      B
                                                 the Deduction for Repair and Tire
                                                 Purchases, but before set-offs
              --         Magistrate Judge        A final statement of damages per driver,   --       --
                         Accounting              considering set-offs, interest

                                       Magistrate Judge Accounting

            The Magistrate Judge Accounting was to start with the Final Accounting and then allow

Set-Offs for many other items including “remaining truck lease payments; truck insurance; fuel

and other trip expenses; Federal Highway Use Tax; Settlement administration fee; Insurance

administration fee; Satellite usage fee; Other insurance; ‘Auto advance;’ License and permits;

OFS bookkeeping services; Salary advance; and ‘other.’” 14 The consideration of these amounts

was required by the District Judge because “[t]he Court is sitting in equity in this case, and

equity requires that debts legitimately owed by individual Plaintiffs to Defendant not go

unpaid.” 15

            The Final Accounting and Magistrate Judge Accounting were specifically to exclude so-

called “refurbishment” expenses which were expenses of refurbishing trucks but payable under a

Vehicle Lease Agreement (VLA) each driver entered into with Opportunity Leasing, an entity

related to Defendant. Refurbishment expenses were not listed as payable under the ICOA. 16

Several of the Set-Offs to be considered in the Magistrate Judge Accounting were referenced in

14
     Id. at 7-10, 11.
15
     Id. at 4-5.
16
     Id. at 6-7.



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 Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7531 Page 4 of 14




both the ICOA and VLA, including Tractor Lease Payments; CRE Cargo Claims Program; and

Passenger Insurance (referred to as “Other Insurance” in the Finalization Order). 17

           The parties’ adjudication plan categorizes claims for efficient adjudication. 18 The parties

stipulated to the persons included in the first two categories of claims. 19 Both these first two

categories include drivers who were charged with refurbishment. The drivers in the first

category under paragraph C. 1. (a) of the adjudication plan were those who were charged with

refurbishment and received no payment at final settlement. 20 The parties stipulated to the

disposition of these claims. 21 Those 51 drivers will receive $119, 339.20.

           Drivers in the second category of claims (C. 1. (b)) were also charged with refurbishment

but they did receive a payment at final settlement. 22 Evidence and argument as to these claims

was presented in two half-day hearings February 10, 2011 23 and February 24, 2011. 24

                        Principal Issue – Payments to Drivers at Final Settlement

           Because the parties have agreed on the balances of the escrows after the sole authorized

deduction for specific repair and tire purchases (reflected in the Final Accounting) and the

amounts which can be considered for Set-Offs (in the Final Accounting), the principal issue

between the parties as to the C. 1. (b) claims was the allocation of payments made to drivers at

17
     Transcript February 24, 2011, at 8-10.
18
     Adjudication Plan 467, at 4-6.
19
   Stipulation of Initial Listing of Claims for Adjudication, docket no. 470, filed January 7, 2011. The list of C. 1.
(a) claimants was modified by agreement to exclude drivers involved in accidents. Transcript February 10, 2011, at
5.
20
  “Whether class members are entitled to an award of actual damages/restitution after set-offs for refurbishments are
excluded from the damages analysis, per the Court’s earlier ruling, and where England did not tender any monies to
the class member at final settlement.” Adjudication Plan 467 at 5.
21
     Stipulation Regarding C(1)(a) Claims, docket no. 478, filed February 9, 2011.
22
  “Whether class members are entitled to an award of actual damages/restitution after set-offs for refurbishments are
excluded from the damages analysis, per the Court’s earlier ruling, and where England tendered monies to the class
member at final settlement.” Adjudication Plan 467 at 5.
23
     Minute Entry, docket no. 479, filed February 10, 2011.
24
     Minute Entry, docket no. 485, filed February 24, 2011.



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 Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7532 Page 5 of 14




the time the drivers separated from their relationship with England. The question was how much

of the final payment made to the driver should be a credit against escrow balances. The issue

was briefed in the parties’ papers preparatory to the hearings. 25

                                         Background on Payments

                                 Final Settlement – Payment to Driver

           Each final payment to a driver was reflected on an Operator Settlement statement (Final

Statement) which amalgamated all the credits and debits related to that driver’s account. The

Final Statement was prepared at the time of England’s final settlement with that driver. 26

England ICOA-related revenues and charges were listed along with Escrow Balances, and

interest on them, and Opportunity Leasing CLA-related revenues and expenses. Any positive net

amount of all these sums on the Final Statement was paid to the driver, unallocated as to its

source.

           In the Finalization Order, “Judge Stewart did not rule whether those payments were

drawn from escrow funds or whether those payments were drawn from a different source.” 27 In

early 2009 England moved to clarify the treatment of payments under the Finalization Order, 28

and the district judge made a general statement for guidance:

           The Court finds that any payment to class members at the time of settlement
           which were paid from escrow accounts must be deducted from the measure of
           damages. The court also finds that any payments not made from escrow accounts



25
  C.R. England’s Brief Regarding Adjudication of C(1)(b) Claims (England Brief 472), docket no. 472, filed
January 14, 2011; Plaintiffs’ Response to Defendant’s Brief Regarding Adjudication of C(1)(B) Claims (Plaintiffs’
Response 474), docket no. 474, filed January 26, 2011; Reply Brief Regarding Adjudication of C(1)(b) Claims
(Reply Brief 476), docket no. 476, filed February 2, 2011.
26
 Examples of the Operator Settlement statements are attached to Reply Brief 476 as Exhibits A and B, and were
marked at the February 10, 2011 hearing as Exhibits 3, C, F and I.
27
     England Brief 472 at iii.
28
  Motion for Clarification of Court’s Order Regarding Calculation of Damages, docket no. 386, filed March 23,
2009.



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 Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7533 Page 6 of 14




           are irrelevant to a determination of damages from unlawful management of
           escrow accounts, and are not to be considered. 29

           England made a second motion to clarify the treatment of payments. 30 “England

proposed that Judge Stewart rule that all payments made at final settlement necessarily

constituted escrow funds, to the extent of the escrow funds owed to each driver.” 31 Judge

Stewart held that “these issues are more appropriate for the damages analysis phase.” 32

           The problem presented by the payments issue is that it involves re-evaluation of the

financial relationship of each driver with England and with Opportunity Leasing. To determine

what amount of the unallocated final payment was for the escrow, it is necessary to examine the

calculation of that payment. The Final Statement to a driver included every credit and debit of

the relationship between Plaintiffs, England and Opportunity Leasing. While the parties have

done an admirable job of agreeing on the Revised Accounting and Final Accounting, the issue of

payments requires a re-examination of the amounts listed in the final Operator Settlement

statements which were used to calculate the payments made.

           At the hearings in February 2011 the parties presented the history of the various

accounting documents and the Final Statements. Tricia O’Neal, testified at length regarding the

Final Statement and the Proposed Accounting format. 33 The parties also presented their theories

of how the magistrate judge should examine payments and evaluate to what extent, if any, a final

payment to a driver was made from escrow funds.




29
     Order Granting in Part and Denying in Part Motion for Clarification at 2, docket no. 394, filed April 28, 2009.
30
     Defendant C.R. England, Inc.’s Motion to Clarify April 28, 2009 Order, docket no. 418, filed September 18, 2009.
31
     England Brief 472 at vii.
32
  Memorandum Decision and Order Denying Defendant C.R. England, Inc.’s Motion to Clarify April 28, 2009
Order at 4, docket no. 458, filed September 30, 2010.
33
     Transcript February 10, 2011, at 40-83.



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 Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7534 Page 7 of 14




                                   England’s Payment Allocation Proposal

           England urges the court to presume that the funds it paid out in the final settlement check

were escrow funds. First, England says that

           Unless there is clear evidence to the contrary in the case of a particular class
           member, the Court should find during its analysis of each truck that England acted
           rightfully and offset a driver’s liabilities at final settlement with revenues, not
           with escrow funds, reserving escrow funds to the fullest extent possible to be paid
           directly to the driver. 34

England says this burden of proof is on the Plaintiffs because “Judge Stewart has made it

abundantly clear that actual damages will be awarded only when proven by Plaintiffs.”35

However, the credit for payment is not part of the damages claim but is a payment defense raised

by England. Payment is an affirmative defense 36 on which England has the burden of proof.

           Second, England says “a strong legal tradition . . . in analogous circumstances” presumes

that if a party holds another party’s funds, and the holding party commingles its own funds with

those held in trust, “courts presume that any expenditure drawn on the commingled account for a

non-fiduciary purpose is drawn from monies at the lawful disposal of the holder, and not from

monies held in benefit for a third party.” 37

           Several things are wrong with this argument. First, in the current case England, the

holder of the escrows, did not place its own money in the drivers’ escrows. There is no showing

that the escrow funds received money from England. Second, if we look at the “account” as the

entirety of all monetary amounts listed on a Final Settlement statement, there was still no deposit

of England funds. The amounts on that statement are revenues earned by the driver, and

expenses incurred by the driver. Third, England mis-states the rule. The rule is a limitation on
34
     England Brief 472 at 2 and 3 n.3.
35
     Id.
36
     Fed. R. Civ. P. 8(c)(1)
37
     England Brief 472 at 3-4.



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 Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7535 Page 8 of 14




the claim of the beneficial owner, by reference to payments made for non-fiduciary purposes, but

England wants to invert the rule to define the nature of payments made out of the fund as being

for fiduciary purposes.

           Examining the Restatement of Restitution formulation of the rule makes clear the

inapplicability of England’s authority.

           Where a person wrongfully mingles money of another with money of his own and
           makes withdrawals from the mingled fund and dissipates the money so
           withdrawn, and subsequently adds money of his own to the fund, the other can
           enforce an equitable lien upon the fund only for the amount of the lowest
           intermediate balance, unless
                  (a) the fund or a part of it earns a profit, or
                  (b) the subsequent additions were made by way of restitution. 38

The rule applies to the fund balance, not to payments out of the account. While the rule

measures a trust balance by referencing payments made for non-fiduciary purposes,

England wants to use it to define payments made by referring to the balance of the

escrow accounts. The Restatement example applying the rule illustrates its proper

application.

           Where a person wrongfully deposits in a single account in a bank money of
           another and money of his own, and makes withdrawals from the deposit and
           dissipates the money so withdrawn, and subsequently makes additional deposits
           of his own funds in the account, the other person cannot ordinarily enforce an
           equitable lien upon the account for a sum greater than the lowest intermediate
           balance of the deposit. 39

           Comparison with the example formulated by England shows the confusion

introduced by England’s reliance on this principle.

           Stated more simply, if John delivers $100 to Jane with orders for Jane to hold the
           money, and Jane deposits the check in an account also holding $100 of Jane’s
           own money, a court would find that any purchase by Jane drawing on that


38
     Restatement of Restitution (First) §212 (1937).
39
     Id. Comment a.



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 Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7536 Page 9 of 14




            account, up to $100, was permissible, making the presumption that Jane used her
            own money and not John’s. 40

England wants to use the rule to create a presumption about payments to the beneficiary,

when it is a rule about balances due the beneficiary, due to payments to third parties, for

non-trust purposes.

            England’s calculations according to its method are shown in Exhibit L from the hearing.

The formulas behind Exhibit L reveal England arrives at “Damages” by determining if the “Final

Check” to a driver exceeds the “Net Escrow With Setoff amount.” 41 If the “Final Check” was

greater, there is no “Damages” but if the “Net Escrow With Setoff” is greater than the “Final

Check,” England says the difference is damages. But England calculates the “Net Escrow With

Set”off in a conditional way as well. “Net Escrow with Setoff” does not include “Setoff” in most

instances, because the formula in the spreadsheet adds “Setoffs” only if the Setoffs are a

negative number.

            While Exhibit L shows Refurbishment, that number is not used in England’s damages

calculations except that it is paid down to the extent the driver had revenues which exceeded

expenses. 42 Excluding refurbishment allows more funds to be available for payment on escrow.

The “Setoff” numbers in Exhibit L are the revenues and credits (other than escrow balances) due

the driver, less amounts authorized as “Set-Offs” in the Finalization Order. 43 That Setoff

number, if positive, means the driver was entitled to receive payment at final settlement for

reasons other than escrow. If that number is negative, then England’s position is that the driver


40
     England Brief 472, at 4.
41
  The formula for Damages involves spreadsheet logic. If the Final Check is greater than the Net Escrow With
Setoff, then there are no Damages. Otherwise, Damages is the amount by which the Net Escrow With Setoff
exceeds the Final Check.
42
     Id. at 87-88, 97.
43
     Id. at 84.



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Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7537 Page 10 of 14




owed England money and England’s accounting subtracts the balance due it from any escrow

funds. The result of England’s calculations is that 44 of the 91 claimants in this category would

have a recovery, totaling (including interest) $145,365.00.

            England’s method makes an unwarranted assumption that is not consistent with the

historical facts. England, now in hindsight, allocates payments first to escrow when it is clear

the calculations at the time in the Final Settlement statements England gave its drivers, were

simply an amalgamation of all England and VLA financial transactions related to the driver

including the escrow funds. The presumption would ignore the clear record of what England

was doing. There is no basis to indulge the presumption.

                                      Plaintiffs’ Payment Allocation Proposal

            Plaintiffs first proposed that England be held to the format of the Proposed Accounting

which “deducted refurbishment set-offs directly from the class member’s maintenance escrow

fund.” 44 “In each case, these individual accountings demonstrate that monies returned to class

members at final settlement did not include refurbishment charges deducted from escrow

funds.” 45

            At the February 10, 2011 hearing the magistrate judge indicated that he did not believe

Defendant was judicially estopped by the format of the Proposed Accounting. 46 Plaintiffs then

departed from the examples used in their memorandum 47 and provided several exhibits to

illustrate their proposal.




44
     Plaintiffs’ Response 474 at i.
45
     Id. at ii; see also id.at 2.
46
     Transcript February 10, 2011, at 157-58.
47
     Plaintiffs’ Response 474, at 3-5.



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Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7538 Page 11 of 14




           Plaintiffs provided an overall calculation of damages as Exhibit 6, under which damages

and interest total $371,933.79. Plaintiffs also provided illustrative examples for individual

drivers.

           •    Exhibit 2 is Plaintiffs’ calculation of damages for Slade Baldwin. Exhibit 3 is the

                Final Settlement statement for him. Essentially, the difference between the Plaintiffs’

                calculation and the Final Settlement statement is refurbishment cost of $110.00 and

                interest on the escrow amounts totaling $9.40, which Plaintiffs omitted. 48 Because

                Plaintiffs ignored interest on the escrow, they calculate the damages for Baldwin at

                $110.00, equal to the refurbishment charge.

           •    Exhibit 4 is Plaintiffs’ calculation of damages for Dennis Holt Enterprises, Inc.

                Exhibit C is the Final Settlement statement for this driver. His escrow balance

                (ignoring interest) was $1,971.12. Against the escrow balance, Plaintiffs allow Fuel

                and Road Tax Payments of $843.17 as a valid Set-Off, leaving a balance of

                $1,127.95. The refurbishment charge for Holt was $1,786.83. Dennis Holt

                Enterprises, Inc. does not recover the full amount of the refurbishment because the

                amount due from escrow cannot exceed the ending escrow balance, less the

                authorized deduction for Fuel and Road Tax Payments.

           •    Exhibit 5 is Plaintiffs’ calculation of damages for Deon Esterhuyse. Exhibit I is his

                Final Settlement statement. Plaintiff calculates damages at $3,686.57. This is the

                refurbishment amount.

The end result of Plaintiffs’ proposal is that each Plaintiff receives a refund of refurbishment

charges, or, if smaller, the ending escrow balance less the Fuel and Road Tax Payments.


48
     Transcript February 10, 2011, at 132-33.



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Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7539 Page 12 of 14




       The logic underlying Plaintiffs’ proposal – the way Plaintiffs allocate payments – is not

as easy to follow as the end results. It appears that Plaintiffs first calculate the amount due the

driver from the final trip, by netting legitimate expenses due from the driver against revenue and

credits other than escrow which are due the driver.

       •   If that amount is positive, that positive amount is subtracted from the final payment

           made to the driver, to determine what, if any amount of the final payment was left to

           represent an escrow payment. This was the case with Deon Esterhuyse.




       •    If however, that net amount after the final trip is negative (showing that the expenses

           from the last trip exceed the final trip revenue and credit), that negative amount is

           subtracted from the escrow balance, along with any fuel and road tax owing. This

           was the case with Slade Baldwin.

       •   If the final payment to the driver is less than the amount Plaintiffs calculate as owing

           the driver after netting legitimate expenses due from the driver against revenue and

           credits other than escrow which are due the driver, Plaintiffs give no credit to

           England for payment against escrow. This was the case with Dennis Holt

           Enterprises, Inc.

       Because the “revenue – expenses” calculation involves the entire set of figures on the

Final Settlements, but only excludes refurbishment, for these Plaintiffs the refurbishment




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Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7540 Page 13 of 14




expense becomes the measure of damages – unless that amount is greater than the ending escrow

balance, less the Fuel and Road Tax Payments.

           Plaintiffs’ illustrative examples ignore interest, which “does produce a difference of tens

of dollars” as Plaintiffs’ counsel states, 49 making exact numeric reconciliation a challenge. But

the approach is consistent with the district judge’s mandate that “truck refurbishment charges

will be excluded from the [Final] Accounting [and] will also be excluded from the analysis of

damages.” 50 England’s attempt to bring refurbishment in through an analysis of payments is not

consistent with the district judge’s preclusion “of any deduction for which Plaintiffs owe a

contractual obligation solely under the VLA.” 51

                        The Magistrate Judge’s Proposed Allocation of Payments

           Presented with these positions at the February 10, 2011, hearing, and feeling that the

inclusion of VLA based revenues and deductions in the Final Statements was confusing and

contrary to the Finalization Order’s treatment of the VLA and refurbishment charges, 52 the

magistrate judge directed the parties to “confer and submit memoranda with examples of an

accounting which excludes amounts chargeable and paid under the VLA.” 53 The parties

complied. 54 But at the hearing February 24th, both parties agreed that either of their proposals

was better than the proposal made by the court. 55




49
     Transcript February 10, 2011, at 133.
50
     Memorandum Decision 358, at 7.
51
     Id.
52
     Transcript February 10, 2011, at 180.
53
     Minute Entry, docket no. 479, filed February 10, 2011.
54
  Plaintiffs’ Report Regarding Analysis of Damages for Claims Under Category C(1)(b), docket no. 483, filed
February 22, 2011; Defendant C.R. England’s Supplemental Brief Regarding C(1)(b) Claims, docket no. 484, filed
February 22, 2011.
55
     Transcript February 24, 2011, at 8.



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Case 2:02-cv-00950-TS Document 491 Filed 03/18/11 PageID.7541 Page 14 of 14




           At the end of that hearing the magistrate judge asked the parties if a court appointed

accountant was needed, but was told that the decision needed was a methodology. 56 “I think if

the Court issues a methodology, we can get the numbers right” 57 and “work out the details.” 58

           The magistrate judge has, for the reasons stated earlier in comparing the two

methodologies, selected the Plaintiffs’ method of allowing credit for payments made.

                                            ORDER

           IT IS HEREBY ORDERED, based on the above reasons, that allocation of

payments made by England to Plaintiffs at Final Settlement shall be applied as Plaintiffs

propose.



           Dated March 18, 2011.
                                                 BY THE COURT:


                                                 ____________________________
                                                 David Nuffer
                                                 U.S. Magistrate Judge




56
     Transcript February 24, 2011 at 99.
57
     Id.
58
     Transcript February 24, 2011 at 92.



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